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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


SUMMER THOMPSON,

               Plaintiff,
                                                    Case No. 1:16-cv-556
v.
                                                    HON. JANET T. NEFF
NATIONAL RECOVERY & INVESTIGATION
SERVICES, INC., et al.,

               Defendants.
                                        /


                                   DEFAULT JUDGMENT

       Defendant Rashaad Kaheem Woods having failed to appear, plead or otherwise defend this

action and default having been entered against Defendant Woods on August 26, 2016 (Dkt 10), and

counsel for Plaintiff having requested default judgment against Defendant Woods and having filed

a proper motion and affidavit in accordance with Fed. R. Civ. P. 55(a) and (b) (Dkt 14):

       IT IS HEREBY ORDERED that Judgment is entered in favor of Plaintiff and against

Defendant Rashaad Kaheem Woods in the amount of $1,000.00 for damages, in the amount of

$1,283.89 for costs, and in the amount of $13,240.00 for attorney’s fees, for a total award of

$15,523.89.

       This Default Judgment closes the case.



Dated: October 13, 2016                               /s/ Janet T. Neff
                                                    JANET T. NEFF
                                                    United States District Judge
